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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                  Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                               Defendant.



                         NOTICE OF ATTORNEY APPEARANCE

       The undersigned Assistant United States Attorney hereby notices an appearance on behalf

of the United States of America.


                                                  Respectfully submitted,

                                                  TIMOTHY J. SHEA
                                                  D.C. Bar No. 437437
                                                  United States Attorney for the
                                                  District of Columbia


                                             By: /s/ J.P. Cooney
                                                 J.P. COONEY, D.C. Bar No. 494026
                                                 Assistant United States Attorney
                                                 Chief, Fraud & Public Corruption Section
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                                CERTIFICATE OF SERVICE

       I hereby certify that this notice was served on counsel for the defendant, Roger J. Stone,

via ECF on February 18, 2020.

                                                    /s/ J.P. Cooney
                                                    J.P. COONEY, D.C. Bar No. 494026
                                                    Assistant United States Attorney
                                                    Chief, Fraud & Public Corruption Section
